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RETURN OF SERV|CE

UNITED STATES DlSTR|CT COURT
Northern District of lllinois

Case Number: 18-CV-1365
P|aintiff:
Amber L. Tripp
vs.
Defendant:
Pan Am Col|ections, lnc., Daniel L. Kohlenberg
For: Tomei LaW
Received by Clutter investigations lnc. DBA Courthouse Courier on the 27th day of March, 2018 at 9:24 am
to be s rved on D nie| . ohl`e erg, 1208 E. Washington Stre t, Bloomin on, ig 61701. l,
do hereby affirm that on the day of , ZO]B_ at
:' ' m., execute service by delivering a true copy of the Summons in a Civi Case; First Amended

Emplaint Jury Demanded; Document Preservation Demand; Notice Of Lien And Assignment;
Certificate Of Service; and Exhibits A-F in accordance with state statutes in the manner marked below:

/& |ND|V|DUAL SERV|CE: Served the within-named person.

( ) suBsTiTuTE sERvicE; By serving as

 

( ) POSTED SERV|CE: After attempting service on /__ at and on / at to a

conspicuous place on the property described herein.

( ) NON SERV|CE: For the reason detailed in the Comments below.

Nlarita|Status: ( )Married or( )Single Name ofSpouse

COMMENTS:

 

 

 

 

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B§TURN OF SERV|CE For 18-CV-1365

l certify that l have no interest in the above action, am of legal age and have proper authority in the
jurisdiction in which this service was made.

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PRocEss sERvER# ii 1;(';"2`\( § §lp‘

Appointed in accordance with State Statutes

Clutter investigations lnc. DBA Courthouse
Courier

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